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November 21, 2019 NOV 2? 2019
Hon. Leslie E. Kobayashi DISTRICT OF HAWAII

United States District Court
District of Hawavi

300 Ala Moana Blvd., C-338
Honolulu, HI 96850

Re: United States v. Anthony T. Williams, Cr. No. 17-00101 LEK, United
States District Court, District of Hawaii.

Dear Judge Kobayashi,
Per your inquiry at the hearing in this cause on November 19, 2019, the

current subpoena date of February 3, 2019, as contained in the ex parte
documents standby counsel has provided you, does not need to be changed.

 

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YakY ROBERT ISAACSON

 

Cc/Anthony Williams
AUSA Ken Sorenson
AUSA Greg Yates
Birney Bervar, Esq.
Michael Jay Green, Esq.

 
